      Case 5:03-cr-00005-DCB   Document 113   Filed 02/09/17   Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            WESTERN DIVISION


EVERETT EARL PARKER                                                PETITIONER

VS.                                           CRIMINAL NO. 5:03-cr-5(DCB)
                                                CIVIL NO. 5:16-cv-58(DCB)

UNITED STATES OF AMERICA                                           RESPONDENT


                                   ORDER

      This cause is before the Court on defendant/petitioner Everett

Earl Parker’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence by a Person in Federal Custody (docket entry

112 in cause no. 5:03-cr-5).         Having conducted the preliminary

review required by Rule 4 of the Rules Governing Section 2255

Proceedings for the United States Courts, the Court finds as

follows:

      The petitioner brings his Petition asking the Court to vacate

his sentence and reopen his case for further sentencing in light of

Johnson v. United States, 135 S.Ct. 2551 (2015), which found that

the “residual clause” stated in the definition of “violent felony”

in the Armed Career Criminal Act (“ACCA”) is unconstitutionally

vague.   Specifically, Parker argues that the following aspects of

his sentence are affected by the Supreme Court’s ruling in Johnson:

(1) subjection to a mandatory life sentence under 18 U.S.C. ¶

3559(c)(1); (2) subjection to a Chapter 4 enhancement under the

Sentencing Guidelines; and (3) conviction for brandishing a firearm

during a crime of violence.       (Docket entry 112, p. 2).
    Case 5:03-cr-00005-DCB        Document 113   Filed 02/09/17   Page 2 of 3



        The United States Supreme Court has not yet determined whether

Johnson dooms the Guidelines’ residual clause.                The Sixth Circuit

Court     of   Appeals    has    observed    that    “there   are   respectable

constitutional arguments that the vagueness doctrine does not apply

to the advisory Guidelines.”           In re Embry, 831 F.3d 377, 378 (6th

Cir. 2016).     The Supreme Court has agreed to resolve the issue in

its new term in Beckles v. United States (No. 13-13569).                 In light

of the forthcoming Supreme Court decision in Beckles, the Court

finds that the proper course of action is to stay Parker’s case and

hold it in abeyance pending a ruling in Beckles. See United States

v. Vaughn, 2016 WL 7385723, *2 (E.D. Mich. Dec. 21, 2016)(finding

that “Both the Sixth Circuit and the Eastern District of Michigan

acknowledge     that     the    most   appropriate    procedure     is   to     stay

litigation pending the resolution of these questions by the Supreme

Court.”)(citations omitted).

        Because Beckles will likely decide whether Johnson applies

retroactively in guidelines cases, this Court will follow the

procedure established by the Sixth Circuit and stay the present

case pending the Supreme Court’s decision in Beckles, which is

expected sometime within the next five months. See Vaughn, 2016 WL

7385723, *2.

        Accordingly,

        IT IS HEREBY ORDERED that defendant/petitioner Everett Earl

Parker’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or


                                         2
    Case 5:03-cr-00005-DCB   Document 113   Filed 02/09/17   Page 3 of 3



Correct Sentence by a Person in Federal Custody (docket entry 112

in cause no. 5:03-cr-5) is STAYED pending further order of the

Court.

     SO ORDERED, this the 9th day of February, 2017.



                                       /s/ David Bramlette
                                       UNITED STATES DISTRICT JUDGE




                                   3
